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 Attorneys for Plaintiff

                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,                 No. 3:23-cr-00073-JMK-MMS

                      Plaintiff,           COUNT 1:
                                           DEALING IN FIREARMS WITHOUT A
       vs.                                 LICENSE
                                            Vio. of 18 U.S.C. §§ 922(a)(1)(A),
 AARON CRAIG HORWATH,                      924(a)(1)(D)
                      Defendant.           CRIMINAL FORFEITURE ALLEGATION:
                                             18 U.S.C. § 924(d), 28 U.S.C. § 2461(c),
                                           and Fed. R. Crim. P. 32.2(a)




                                      INDICTMENT

       The Grand Jury charges that:

                           INTRODUCTORY ALLEGATIONS

1.     On or about December 4, 2019, the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (ATF), Director of Industry Operations, issued a Notice to Revoke or Suspend

License to Federal Firearms Licensee (FFL) Gator Guns, Inc., which was located at 7952



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Kenai Spur Highway, Kenai, AK. The owner of Gator Guns was identified as Defendant

AARON C. HORWATH.

2.     This Notice to Revoke License cited that the revocation was “premised upon willful

violations of federal firearms laws and regulations.”      Gator Guns, Inc., specifically

Defendant AARON C. HORWATH, had at least three hundred twenty-one (321) firearms

for which no disposition was recorded, and which the licensee could not account for.

3.     On or about January 9, 2020, the ATF issued a Final Notice of Revocation to Gator

Guns, Inc., specifically served to Defendant AARON C. HORWATH.                 This notice

officially revoked federal firearms license #9-92-122-01-1K-00082, previously held by

Gator Guns, Inc.      This revocation document instructed Gator Guns (FFL Aaron

HORWATH) of the following:

      “After the effective date of a license denial of renewal, revocation, or
      suspension, you may not lawfully engage in the business of dealing in
      firearms. Any disposition of your firearms business inventory must comply
      with all applicable laws and regulations.”

4.    In April and November 2021, ATF was contacted by concerned citizens who said

Defendant AARON C. HORWATH reopened Gator Guns in the fall of 2020, and

continued to sell firearms to the public, was not conducting the required background checks

on customers purchasing firearms, not completing and submitting Firearms Transactions

Records, ATF Forms 4473, and that all sales were on a “cash only” basis.




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5.     ATF conducted three undercover buys of firearms from HORWATH in the store

between December 2022 and March 2023, on or about the following dates:

             Date                           Item                        Price

      December 6, 2022            Sig Sauer .380 caliber                $700
                                  pistol and ammunition
      December 7, 2022            Glock .45 caliber pistol              $620

       March 30, 2023               Ruger .44 Magnum                    $900
                                 revolver and ammunition

At no point during these undercover contacts and transactions with HORWATH did he

request identification from the purchasers or complete transfer or background check forms.

HORWATH insisted on cash and did not issue receipts.

6.     On or about May 11, 2023, ATF executed a federal search warrant at Gator Guns

and seized 189 firearms from HORWATH’s shop.

                                         COUNT 1

       Paragraphs 1 through 6 are hereby realleged and incorporated by reference as if set

forth in full herein;

7.     Beginning on a date unknown to the Grand Jury but at least in or about 2021 and

continuing until at least on or about May 11, 2023, within the District of Alaska, the

defendant, AARON CRAIG HORWATH, did willfully engage in the business of dealing

in firearms, then not having a license as a firearms dealer.

       All of which is in violation of 18 U.S.C. §§ 922(a)(1)(A) and 924(a)(1)(D).

                           CRIMINAL FORFEITURE ALLEGATION

       The allegations contained in Count 1 of this Indictment are hereby re-alleged and



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incorporated by reference for the purpose of alleging forfeiture pursuant to 18 U.S.C.

§ 924(d) and 28 U.S.C. § 2461(c).

         Upon conviction for the offenses in violation of 18 U.S.C. § 922(a)(1)(A) set forth

in Count 1 of this Indictment, Defendant AARON C. HORWATH shall forfeit to the

United States pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c) any firearms

involved in or used in willful violation of the offense, or intended to be used in the offense,

including, but not limited to:

   1.          Winchester 12 Skeet Gun Shotgun Cal: 20 SN: 1065312

   2.          Turkey Tri Star, Britany Shotgun Cal: 12 SN: 60-03-4539 00

   3.          Savage Fox BSE Shotgun Cal: 410 SN: C666079

   4.          Remington Arms Company, Inc 12C Rifle Cal: 22 SN: 191116

   5.          High Standard Supermatic Trophy Pistol Cal: 22 SN: ML51600

   6.          Freedom Arms Co. 83 Revolver Cal: 454 SN: D17031

   7.          Colt 1911 Pistol Cal: 45 SN: 19110264

   8.          HS Produkt (IM Metal) XD45 Pistol Cal:45 SN: US698829

   9.          Savage Arms Springfield Shotgun Cal: 16 SN: None

   10.         Mossberg 500 Atp Shotgun Cal: 12 SN: H835066

   11.         Remington Arms Company, Inc. Unknown Receiver/Frame Cal: .35 SN:

               C41649

   12.         Huglu Cooperative Ringneck Shotgun Cal: 20 SN: 13C5117

   13.         Remington Arms Company, Inc. 700 Lh Rifle Cal: 338 SN: S6390345

   14.         Remington Arms Company, Inc. Unknown Shotgun Cal:12 SN: 127320


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15.     Rossi M62 SAC Rifle Cal: 22 SN: G154906

16.     Ithaca Gun Co. 49R Rifle Cal: 22 SN: 107867

17.     Winchester 74 Rifle Cal: 22 SN: 176233A

18.     Savage 720 Shotgun Cal: 12 SN: 97742

19.     Cassnar 20 Rifle Cal: 22 SN: A215914

20.     Marlin Firearms Co. 60 Rifle Cal: 22 SN: 20555948

21.     Mossberg 352kd Rifle Cal: 22 SN: B86967

22.     Winchester 70 Rifle Cal: 7 SN: 35CZX04625

23.     Winchester 52 Rifle Cal: 22 SN: None

24.     Weatherby Mark XXII Rifle Cal: 22 SN: J-34528

25.     Henry Repeating Rifle Company H005 Mini Bolt Rifle Cal: 22 SN:

        MB61713

26.     Westernfield Unknown Rifle Cal: 22 SN: None

27.     Mossberg 151m Rifle Cal: 22 SN: None

28.     Remington Arms Company, Inc. 14 Rifle Cal: 35 SN: C66894

29.     Ranger Arms Inc. 101.13 Rack-Ranger Receiver Frame Cal: 22 SN: None

30.     Germany-Mauser Danzig 1916 98 Receiver/Frame Cal: 30-06 SN: None

31.     Marlin Firearms Co. 81 Rifle Cal: 22 SN: None

32.     Eagle Arms Unknown Receiver/Frame Cal: 270 SN: 8M3995

33.     Rossi Puma M92 Rifle Cal: 454 SN: MA015249

34.     Marlin Firearms Co. Revelation 120 Receiver/Frame Cal: .22 SN:

        27261432


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35.     Savage Stevens 86c Rifle Cal: 22 SN: None

36.     Savage 110e Rifle Cal: 30-06 SN: E332936

37.     Savage 110 Rifle Cal: 338 SN: F056219

38.     Savage 110 Rifle Cal: 270 SN: G643265

39.     Savage 311a Shotgun Cal: 12 SN: None

40.     Remington Arms Company, Inc. 740 Rifle Cal: 30-06 SN: 85963

41.     Remington Arms Company, Inc. 10-A Shotgun Cal: 12 SN: U45615

42.     Remington Arms Company, Inc. 742 Rifle Cal: 30-06 SN: 7035569

43.     Savage 755 Shotgun Cal: 12 SN: 526640

44.     Savage Stevens 67 Shotgun Cal: 12 SN: E922758

45.     Mossberg 810asm Rifle Cal: 30-06 SN: 652920

46.     Unknown Receiver/Frame Cal: Unknown SN: F8325

47.     Benelli, S. Pa. Nova Shotgun Cal: 12 SN: Z346999

48.     Unknown M200 Shotgun Cal: 12 SN: P167938

49.     Unknown Unknown Receiver/Frame Cal: Unknown SN: 143414

50.     Marlin Firearms Co. 60 Rifle Cal: 22 SN: 22494306

51.     Marlin Firearms Co. 75C Rifle Cal: 22 SN: 16366311

52.     Smith & Wesson 916A Shotgun Cal: 12 SN: 528B65

53.     Smith & Wesson 916A Shotgun Cal: 12 SN: 44B964

54.     Smith & Wesson 916T Shotgun Cal: 12 SN: 1B2505

55.     Defiance Mfg. Co. Unknown Revolver Cal: 22 SN: 654

56.     Winchester 12 Shotgun Cal: Unknown SN: 584902


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57.     Para-Ordnance Mfg. Inc. Commander Receiver/Frame Cal: 45 SN:

        PK002651

58.     Walther P22 Pistol Cal: 22 SN: Z120179

59.     Echasa (Echave Y Arizmendi) Fast Pistol Cal: 380 SN: 72411

60.     Tanfoglio, F.LLI, S.N.C. Witness P. Pistol Cal: 45 SN: EA23478

61.     Walther P22 Pistol Cal: 22 SN: L086058

62.     Ruger SR9 Pistol Cal: 9 SN: 330-74662

63.     U.S. Arms, LLC. Unknown Receiver/Frame Cal: 44 SN: A004285D

64.     Unknown LA'S Deputy Revolver Cal: 357 SN: 2901

65.     Echasa (Echave Y Arizmendi) Fast Pistol Cal: 32 SN: 76033

66.     Ruger Single Six Revolver Cal: 22 SN: 64-05010

67.     Herbert Schmidt HS21 Revolver Cal: 22 SN: 594825

68.     Industria National De Armes Ina Revolver Cal: .38 SN: 26847

69.     Taurus International The Judge Revolver Cal: 45/410 SN: BV674448

70.     Marlin Firearms Co. 75C Rifle Cal: 22 SN: 19422565

71.     Husqvarna HVA Action Sweden Rifle Cal: 7X57 SN: 67844

72.     Unknown Receiver/Frame Cal: Unknown SN: None

73.     Remington Arms Company, Inc. 760 Rifle Cal: Unknown SN: 8532

74.     Unknown Favorite Receiver/Frame Cal: 22 SN: None

75.     Marlin Firearms Co. 60 Rifle Cal: 22 SN: 71548270

76.     Winchester 100 Rifle Cal: 308 SN: 37853

77.     Unknown Receiver/Frame Cal: Unknown SN: None


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78.     High Standard Unknown Receiver/Frame Cal: 22 SN: 69114

79.     High Standard D Pistol Cal: 22 SN: 95191

80.     Remington Arms Company, Inc. Mohawk 10C Rifle Cal: 22 SN: 2265744

81.     Unknown Unknown Receiver/Frame Cal: Unknown SN: 33894

82.     Unknown Receiver/Frame Cal: Unknown SN: None

83.     Remington Arms Company, Inc. 341 Rifle Cal: 22 SN: None

84.     Remington Arms Company, Inc. 522 Viper Rifle Cal: 22 SN: 3103943

85.     Sedco Industries SP22 Pistol Cal: 22 SN: "006335"

86.     Walther P22 Pistol Cal: 22 SN: L055863

87.     Savage Stevens 59A Shotgun Cal: 410 SN: None

88.     Remington Arms Company, Inc. 788 Rifle Cal: 22-250 SN: 6011925

89.     Unknown Unknown Rifle Cal: Unknown SN: EG5223

90.     Savage 620A Shotgun Cal: 20 SN: U64868

91.     Remington Arms Company, Inc. Unknown Rifle Cal: Unknown SN: None

92.     Remington Arms Company, Inc. Woodsmaster 740 Rifle Cal: Unknown

        SN: 6239

93.     High Standard USA Double Nine/W104 Revolver Cal: 22 SN: 1556186

94.     US Arms Corp Unknown Receiver/Frame Cal: 357 SN: 10-001658

95.     Unknown Unknown Receiver/Frame Cal: Unknown SN: PA8G35

96.     Unknown Unknown Receiver/Frame Cal: Unknown SN: 622074

97.     Bryco Arms 48 Pistol Cal: 380 SN: 54562

98.     Unknown Unknown Receiver/Frame Cal: Unknown SN: None


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99.     Unknown Unknown Receiver/Frame Cal: Unknown SN: 70-9

100.    Colt Trooper MKIII Revolver Cal: 357 SN: 81917L

101.    Mossberg 45A Rifle Cal: 22 SN: None

102.    Remington Arms Company, Inc. Unknown Receiver/Frame Cal: 22 SN:

        191976

103.    Remington Arms Company, Inc. 12A Rifle Cal: 22 SN: 605292

104.    Remington Arms Company, Inc. 511 Rifle Cal: 22 SN: None

105.    Remington Arms Company, Inc. 788 Rifle Cal: 308 SN: 6088340

106.    Unknown Unknown Receiver/Frame Cal: 303 SN: 33995

107.    Norinco (North China Industries) SKS Receiver/Frame Cal: 7.62x39 SN:

        24006604B

108.    CZ (Ceska Zbrojovka) CZ-Czech Republic-550 Receiver/Frame Cal: 375

        H&H Magnum SN: 00285

109.    JC Higgins Sears & I 31 Receiver/Frame Cal: 22 SN: None

110.    Unknown Unknown Receiver/Frame Cal: 410 SN: 264215

111.    Remington Arms Company, Inc. Unknown Receiver/Frame Cal: 35 SN:

        12897

112.    Springfield Armory, Geneseo, IL Springfield Receiver/Frame Cal: 20

        Gauge SN: None

113.    Winchester 1906 Rifle Cal: 22 SN: 60991

114.    Savage Unknown Receiver/Frame Cal: 22 SN: None

115.    Norinco (North China Industries) SKS Rifle Cal: 762 SN: 9029289


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116.   Unknown Receiver/Frame Cal: Unknown SN: 371592321

117.   Crescent Fire Arms Co. New Empire Shotgun Cal: 12 SN: None

118.   Unknown Receiver/Frame Cal: Unknown SN: L1351108

119.   Unknown Unknown Receiver/Frame Cal: Unknown SN: None

120.   Remington Arms Company, Inc. 511 Rifle Cal: 22 SN: None

121.   Savage 110E Rifle Cal: 30-06 SN: E290820

122.   American Arms Co. Unknown Receiver/Frame Cal: 12 SN: 762

123.   Savage Springfield 187A Rifle Cal: 22 SN: B407604

124.   Mossberg 342 Rifle Cal: 22 SN: None

125.   Remington Arms Company, Inc. 760 Receiver/Frame Cal: Unknown SN:

       66140

126.   Unknown Receiver/Frame Cal: Unknown SN: 56483

127.   Noble Mfg. Co. 60 Shotgun Cal: 12 SN: None

128.   Unknown Unknown Receiver/Frame Cal: 12 SN: 18540

129.   Remington Arms Company, Inc. 510 Rifle Cal: 22 SN: None

130.   J Stevens Unknown Receiver/Frame Cal: Unknown SN: 5100

131.   Remington Arms Company, Inc. Sportsman 58 Shotgun Cal: Unknown SN:

       37476V

132.   Remington Arms Company, Inc. 10 Shotgun Cal: 12 SN: 237272

133.   Unknown Receiver/Frame Cal: 12 SN: 362849

134.   Unknown Unknown Receiver/Frame Cal: Unknown SN: 371089688

135.   Savage 30B (Coast to Coast 367 Series B) Cal: 12 SN: A788175


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136.   Savage 73Y Rifle Cal: 22 SN: P774832

137.   A SOS L8030 Receiver/Frame Cal: Unknown SN: 6399

138.   Browning BL22 Rifle Cal: 22 SN: 37B06365

139.   Remington Arms Company, Inc. Unknown Receiver/Frame Cal: Unknown

       SN: 220752

140.   Savage Stevens 94C Shotgun Cal: Unknown SN: None

141.   Remington Arms Company, Inc. 121 Rifle Cal: Unknown SN: 191586

142.   Unknown Receiver/Frame Cal: Unknown SN: 21600267

143.   Unknown Receiver/Frame Cal: Unknown SN: 1164782

144.   Unknown Receiver/Frame Cal: Unknown SN: 1684

145.   United Sporting Arms Seville Revolver Cal: 45 SN: 6-00305

146.   United Sporting Arms Seville Revolver Cal: 454 SN: 7-00307

147.   Harrington And Richardson Unknown Shotgun Cal: Unknown SN: 5388

148.   Mossberg 152 Rifle Cal: 22 SN: None

149.   Savage Stevens 520 Shotgun Cal: 16 SN: None

150.   Marlin Firearms Co. 101 Rifle Cal: 22 SN: 26571041

151.   High Standard K2011 Shotgun Cal: Unknown SN: None

152.   Unknown Shotgun Cal: Unknown SN: 10071

153.   Sears-Ted Williams Model 34 Rifle Cal: 22 SN: None

154.   Marlin Firearms Co. 60 Rifle Cal: 22 SN: None

155.   Mosin-Nagant Unknown Rifle Cal: Unknown SN: 8 1297

156.   Savage 325 Rifle Cal: 30-30 SN: None


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157.   Remington Arms Company, Inc. 12A Rifle Cal: 22 SN: 451393

158.   Ithaca Gun Co. 49R Rifle Cal: 22 SN: 500141313

159.   Harrington And Richardson Bay State Shotgun Cal: 12 SN: None

160.   High Standard K2011 Shotgun Cal: Unknown SN: None

161.   Hawthrone M149 Shotgun Cal: 20 SN: None

162.   Savage 6H Rifle Cal: 22 SN: None

163.   Savage 30 Series C Shotgun Cal: 20 SN: B371091

164.   Winchester 190 Rifle Cal: 22 SN: R222928

165.   Remington Arms Company, Inc. 742 Rifle Cal: 30-06 SN: 74869

166.   Remington Arms Company, Inc. 572 Rifle Cal: 22 SN: 1706143

167.   Harrington And Richardson 120 Shotgun Cal: 16 SN: None

168.   Remington Arms Company, Inc. 12 Rifle Cal: 22 SN: 685309

169.   Remington Arms Company, Inc. 10 Shotgun Cal: 12 SN: 222904

170.   Savage Stevens 520 Shotgun Cal: 12 SN: 20326

171.   Marlin Firearms Co. Unknown Shotgun Cal: 12 SN: 42410

172.   Jefferson Arms Co., North Haven, CT. 359 Rifle Cal: 22 SN: None

173.   Savage 29A Rifle Cal: 22 SN: None

174.   Manufrance Hawthorn Viking Shotgun Cal: 12 SN: 10480

175.   Noble Mfg. Co. 66J Shotgun Cal: 12 SN: None

176.   Sportco (Sport Arms Company) 93 Rifle Cal: 22 SN: 0B267

177.   Winchester 150 Rifle Cal: 22 SN: 50001

178.   Remington Arms Company, Inc. 12 Rifle Cal: 22 SN: 699034


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     179.   Walther G22 Rifle Cal: 22 SN: PW011636

     180.   Marlin Firearms Co. 60 Rifle Cal: 22 SN: None

     181.   Walther G22 Rifle Cal: 22 SN: PW003891

     182.   Taurus International PT25 Pistol Cal: 25 SN: DQH17077

     183.   High Standard HD Military Pistol Cal: 22 SN: 275636

     184.   Para-Ordnance Mfg. Inc. 1911 Type Pistol Cal: 45 W/1 SN: PG011706

     185.   Savage Stevens Favorite Rifle Cal: 22 SN: None

     186.   Mossberg 600AT Shotgun Cal: 12 SN: H740892

     187.   Winchester 1400 MKII Shotgun Cal: Unknown SN: N625324

     188.   Marlin Firearms Co. 60 Rifle Cal: 22 SN: 23286311

     189.   Marlin Firearms Co. 99 Rifle Cal: 22 SN: None

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      All pursuant to 18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c), and Rule 32.2(a) of the

Federal Rules of Criminal Procedure.

      A TRUE BILL.


                                              s/ Grand Jury Foreperson
                                              GRAND JURY FOREPERSON



s/ Thomas C. Bradley
THOMAS C. BRADLEY
Assistant U.S. Attorney
United States of America



s/ S. Lane Tucker
S. LANE TUCKER
United States Attorney
United States of America


DATE: August 15, 2023




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